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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                         CRIMINAL ACTION

VERSUS                                                                       No. 03-136

FREDERICK JOHNSON                                                           SECTION I

                                ORDER & REASONS

      Before the Court is defendant Frederick Johnson’s (“Johnson”) motion 1 for an

order releasing him to “home confinement” or giving him “credit for time served,”

which the Court construes as a motion for compassionate release pursuant to the

First Step Act, 18 U.S.C. § 3582(c)(1)(A). 2 The government opposes the motion. 3

Because Johnson has not demonstrated that he has satisfied the statutory exhaustion

requirement, the motion is dismissed without prejudice.

                                            I.

      On October 15, 2003, this Court sentenced Johnson to a term of 96 months on

each of two counts—(1) violating 18 U.S.C. §§ 922(g)(1), 924(a)(2) (convicted felon in

possession of a firearm) and (2) violating 18 U.S.C. § 2113(a)–(d) (bank robbery). 4 The




1 R. Doc. No. 75.
2 In the context of his letter, Johnson’s request is clearly for release due to the danger
posed by COVID-19. To the extent he is asking for any other relief, he must file a
proper motion with the Court.
3 R. Doc. No. 77.
4 R. Doc. No. 21.



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terms were to be served concurrently, followed by a total of five years of supervised

release. 5 Johnson began his term of supervised release on December 29, 2010. 6

        On June 14, 2018, having found that Johnson violated numerous conditions of

his supervised release, the Court sentenced him to serve a total of 60 months,

consecutive to a state criminal sentence. 7 Johnson is currently incarcerated at USP

Pollock (“Pollock”), with a projected release date as to his federal sentence of July 7,

2024.

        Johnson asks the Court to give him “credit for time served” or “allow [him] to

be placed on home confindment [sic]” due to the prevalence of COVID-19 at Pollock. 8

Johnson does not allege that he has administratively exhausted his request.

        The government opposes Johnson’s motion. 9 In relevant part, the government

argues that the Court cannot consider Johnson’s motion for compassionate release

because he has not satisfied the statutory exhaustion requirement. 10

                                           II.

        Section 3582(c)(1)(A) of the First Step Act provides that a court may not modify

a term of imprisonment on motion of a defendant unless the motion was made after

the defendant has exhausted his administrative remedies. A reduction is authorized




5 Id.
6 R. Doc. No. 38.
7 R. Doc. No. 57. The sixty months represents consecutive sentences of twenty-four

months as to the possession count and thirty-six months as to the bank robbery count.
Id.
8 R. Doc. No. 75.
9 R. Doc. No. 77.
10 Id. at 6.



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only after a court, considering the factors set forth in 18 U.S.C. § 3553(a), finds that

“extraordinary and compelling reasons warrant such a reduction.”             18 U.S.C.

§ 3582(c)(1)(A)(i).   The reduction must also be “consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

       Section 3582 allows a court to consider a defendant’s motion for modification

of a term of imprisonment only “after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.” Id.

       In United States v. Franco, the Fifth Circuit determined that the

administrative        exhaustion   requirement     “is not jurisdictional,   but   that

it is mandatory.” 973 F.3d 465, 467 (5th Cir. 2020) (emphasis in original). This

holding comports with those of at least three other circuits. See United States v.

Alam, 960 F.3d 831, 834 (6th Cir. 2020) (explaining that a court “may not grant relief”

if the defendant has not complied with the exhaustion requirement, which operates

as an “unyielding procedural requirement[]”) (internal quotation and citations

omitted) (alteration in original); United States v. Raia, 954 F.3d 594, 597 (3d Cir.

2020) (characterizing the defendant’s failure to exhaust administrative remedies

as “a glaring roadblock foreclosing compassionate release at this point”); United

States v. Springer, 820 F. App’x 788, 791–92 (10th Cir. 2020).

       The defendant bears the burden of demonstrating that he is entitled to

compassionate release and that he has exhausted his administrative remedies.




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United States v. Bates, No. 13-66, 2020 WL 6708384, at *1 (E.D. La. Nov. 16, 2020)

(Vance, J.); United States v. Evans, No. 16-20144, 2020 WL 2549964, at *2 (W.D.

Tenn. May 19, 2020); United States v. Van Sickle, No. 18-0250, 2020 WL 2219496, at

*3 (W.D. Wash. May 7, 2020); see United States v. Roberts, No. 15-135, 2020 WL

2130999, at *3 (W.D. La. May 5, 2020).

         Johnson has not made any showing that he has “fully exhausted all

administrative rights to appeal” or that 30 days have lapsed since the receipt of a

request for compassionate release by the warden of his facility. See 18 U.S.C. §

3582(c)(1)(A). And the government notes that, according to the Bureau of Prisons,

Johnson had not submitted a request for compassionate release as of January 8,

2021. 11 Because Johnson has not satisfied his burden of proof with respect to the

statutory exhaustion requirement, his motion for compassionate release is not

properly before the Court.

                                         III.

         Accordingly,

         IT IS ORDERED that Johnson’s motion for compassionate release pursuant

to 18 U.S.C. § 3582(c)(1)(A) is DISMISSED WITHOUT PREJUDICE to his refiling

after satisfying the administrative exhaustion requirement.

         New Orleans, Louisiana, January 14, 2021.



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                                                   LANCE M. AFRICK
                                          UNITED STATES DISTRICT JUDGE


11   R. Doc. No. 77, at 8 n.12.
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